993 F.2d 1546w
    61 USLW 2693, 24 Bankr.Ct.Dec. 819
    NOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.IN RE:  EAGLE-PICHER INDUSTRIES, INC., Debtor.M. SCOTT MICHEL, CONRAD J. MORGENSTERN, Plaintiffs-Appellants,v.EAGLE-PICHER INDUSTRIES, INC., Defendant-Appellee.
    No. 92-3900.
    United States Court of Appeals, Sixth Circuit.
    May 6, 1993.
    NOTE: THE COURT HAS WITHDRAWN THIS OPINION
    